               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:10 CR 14-1


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
THOMAS LEE COOK.                             )
______________________________________       )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to a

motion entitled “Sealed Motion to Withdraw as Counsel of Record” (#42) filed by

Kris V. Williams, attorney for the defendant. The undersigned set a hearing for this

matter by Order dated August 19, 2010. After hearing of the motion, a portion of

which was sealed, the undersigned finds that good cause has been shown for the

granting of said motion.



                                     ORDER

       IT IS, THEREFORE, ORDERED that the “Sealed Motion to Withdraw as

Counsel of Record” (#42) is hereby ALLOWED. It is further ORDERED that the

Office of the Federal Defender appoint an attorney to represent the defendant in this

matter.




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                                Signed: August 26, 2010




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